Case 2:04-cV-02139-.]P|\/|-de Document 71 Filed 07/08/05 Page 1 of 4 Page|D 109

IN THE UNITED STATES DISTRICT COURT F"'ED mr -"-é-v D-o»
FOR THE WESTERN DISTRICT OF TENNESSFU§ JUL 8 Hl

 

WESTERN DIVISION l: 113
lFDMAS M G l l D
CANDICE MILLER COOK, U.S. DISTR!CI
W C’F ??»é_, MEMPFH
Plaintiff,
vs. Docket No. 04~2139~Ml V

DAVID E. CAYWOOD and
DARRELL D. BLANTON,

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Come now the parties and announce to the Court that the parties are in agreement
that the Plaintiff desires to dismiss this cause as to the Defendants, David E. Caywood and
Darrell D. Blanton, With prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED, that the
Plaintiff’s cause be, and is hereby, voluntarily dismissed With prejudice as to the
Defendants, David E. Caywood and Darrell D. BIanton. Clerk’s costs, but not
discretionary costs, are assessed against the Defendants.

IT IS SO ORDERED THIS DAY OF , 2005.

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¢)V\ ,
NITE STATES DISTRICT JUDGE

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with Huie 58 and/or 79(3} FF\CP on

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APPROVED:

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Attorney for Plaintiff Candice M. \(Cook

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/Gary ith
Attorn for Defendant David Caywood 77 4 f
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YWMJ, 47 M”/W

Darrell E. Baker, Jr.
Attorney for Defendant Darrell Blanton

 

 

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This notice confirms a copy of the document docketed as number 71 in
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Honorable J on McCalla
US DISTRICT COURT

